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              Exhibit A
  To Capital Funding, LLC’s Omnibus
     Supplemental Brief Regarding
      Dismissal of Zisha Lipschutz
         Filed October 31, 2019
FILED: NEW YORK COUNTY CLERK 10/21/2019 11:21 AM                                  INDEX NO. 651570/2018
NYSCEF DOC. NO. 283
                  Case                                                 RECEIVED
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                                  .,                                                                1


               1   SUPREME COURT OF THE STATE OF NEW YORK
                   COUNTY OF NEW YORK - CIVIL TERM - PART 61
               2   ----------------------------------------------X

               3   AP MA FUNDING, LLC,

               4                               Plaintiff,

               5                       -against-

               6   AVI "ZISHA" LIPSCHUTZ           and LARRY LIPSCHUTZ,

               7
                                         Defendants.
               8   ----------------------------------------------X
                   Index # 651570/2018                       Proceedings
               9
                                                             60 Centre Street
              10                                             New York, New York
                                                             September 26, 2019
              11

              12   B E FOR       E:

              13                        HONORABLE     BARRY R. OSTRAGER,
                                                        Justice.
              14

              15
                   A P PEA       RAN      C E S:
              16
                          BLANK & ROME, LLP
              17          405 Lexington Avenue
                          New York, New York   10174-0208
              18               BY:   PAIGE BARR TINKHAM, ESQ.
                                     WILLIAM DORSEY, ESQ.
              19                     Attorneys for Plaintiff

              20          LAW OFFICE OF ALAN J. GARFUNKEL, LLC
                          444 Madison Avenue
              21          New York, New York 10022
                               BY: ALAN J. GARFUNKEL, ESQ.
              22                     DENA INGERMAN, ESQ.
                                     Attorney for Defendant - Larry Lipschutz
              23                                                                     I
                                                                                     I
              24                               DEBORAH A. ROTHROCK, RPR
                                               Official Court Reporter
              25

                                 DEBORAH A. ROTHROCK          - OFFICIAL   COURT REP~RTER


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                                       -Redirect/Mr     Moore/by     Ms. Tinkham-

               1                      THE COURT:     It is not in evidence.         It is not in

               2          evidence.

               3                      MS. TINKHAM:     Your Honor, at least the signature

               4          page is admitted     into evidence?        Larry admitted    signing,

               5          your Honor--

               6                      THE COURT:     Look, it is undisputed      that Mr.

               7          Lipschutz    signed the signatures       pages that are attached        to.

               8          the Guaranty     and he claims that that is the only thing he

               9          saw.   And as you observed       in your opening,     it's not relevant

              10          because    Mr. Lipschutz    reaffirmed     his Guaranty    in the one and

              11          only subsequent     agreement    between    the parties.

              12                      MS. TINKHAM:     Understood.      We just want the

              13          signatures    page admitted     into evidence,     we just want to

              14          clarify.

              15                      THE COURT:     Exhibit   2 is not received      in evidence

              16          for the fourth time.

              17                      MS. TINKHAM:     Thank you, your Honor.

              18                      THE COURT:     All right.      I'm ready to rule.

              19                      The Plaintiffs      have established     that Mr. Lipschutz

              20          loaned $6 million     to a holding       company   which owned Braemoor

              21          Health Center.

              22                      The evidence    established     that the loan was

              23          refinanced    by the Plaintiff AP MA Funding and Mr. Lipschutz

              24          received    back the $6 million      that he had invested      in the 34

              25          North Pearl Street.        In connection      with that transaction      Mr.

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                                        -Redirect/Mr      Moore/by    Ms. Tinkham-

               1          Lipschutz    was intending         to Guaranty    $2 million   towards      the

               2          repayment    of the money that was refinanced             and subsequently

               3          there was a modification            agreement    which its undisputed        Mr.

               4          Lipschutz    signed,     and presumably     understood,     and it was

               5          co-signed    by AP MA and other parties            and that modification

               6          agreement    which is in evidence,         we have, reaffirmed        Mr.

               7          Lipschutz's      obligation    under the Guaranty.         And the

               8          modification      agreement    reduced Mr. Lipschutz's           Guaranty    from

               9          $2 million     to $750,000.

              10                      If Mr. Lipschutz         didn't understand     that the

              11          Guaranty    $2 million     when he signed the modification

              12          agreement,     he understood        that he was reaffirming        whatever

              13          Guaranty    he had executed         the. signature    page to.

              14                       So Mr. Lipschutz        had a $750,000     Guaranty.     There

              15          was subsequent        negotiations     to modify     that Guaranty    and by

              16          the payment      of $600,000       to 34 North Pearl Street, of which

              17          $320,000 was to be paid to AP MA.                 It is undisputed    that the

              18          $320,000    was never paid to AP MA.              It is undisputed    that the

              19          only modification        agreement     that was inexistence        was never

              20          amended     by a written      agreement.        It is undisputed    that and

              21          stipulated     that Mr. Lipschutz        did wire $600,000        to Braemoor

              22          Health Center,        which was, in essence,         wiring money to

              23          himself     because    it didn't go to 34 North Pearl and no

              24          portion     went to AP MA, which was what was discussed               in

              25          connection     with the second modification            agreement.

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                                        -Redirect/Mr     Moore/by    Ms. Tinkham-

               1                      So Mr. Lipschutz        is liable on his Guaranty               for
                                                                                         I
               2          $750,000.     The Guaranty     was reaffirmed       by the modification
                                                                                         I
                                                                                         t

               3          agreement.     So AP MA is entitled        to recover        its reasonable

               4          attorney's    fees in connection        with the prosecu~ion               of this

               5          action and the reasonable           attorney's    fees are     1        simple

                          complaint    on the Guaranty;        is some number
                                                                                         I
                                                                                  significantly
               6

               7          below $100,000.         But we've had a trial here, sl I'm going to

               8          award AP MA Funding        $75,000 in attorney's        fees!           And that is

               9          the disposition        of the case.                            I
                                                                                         i
              10                      You'll order a copy of the transcript:                       You'll      file
                                                                                         I


              11          all your exhibits        under the E-filing        System.

              12                      And I've awarded        judgment     in favor of the Plaintiff

              13          in the sum of $825,000 against            Larry Lipschutz.

              14                       The Plaintiff     is entitled       to statutort           prejudgment

              15          interest     as of the date of the breach.            There,l           no evidence

                          of when demand was made for payment
                                                                                             I
                                                                            under the Guaranty,
              16

              17          other than the complaint           in this action,     so thl prejudgment

              18          interest would run from the date of the fi1inglof                         the
                                                                                             I
                                                                                             I
              19          complaint     in this action.

              20                       Counsel    will order the transcript,
                                                                                             I
                                                                                       bring it to the

              21          part to b e so or d ere d an d prepare         a JU                I,
                                                                           ' d gment conslstent                 ,
                                                                                                               Wlt h

              22          the decision     and submit everything           to the jUdglent Clerk in

              23          the County Clerk's        Office,
                                                                                             i
                                                               which is Room 141B with proof of

              24          service on opposing        counsel.     The Judgment     cle1k there will

              25          assist counsel     in complete       the process     for the!entry              of

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                                                                                                  79
                                       -Redirect/Mr     Moore/by    Ms. Tinkham-

               1          judgment.

              2                       Have a nice day.

               3                      MR. DORSEY:     Thank you.

               4                      MR. GARFUNKEL:        Thank you.

               5                      (Whereupon, the proceedings         concluded.)

               6                                 *            *            *
               7

               8          and

               9

              10
                                      DEBORAH
              11                      Official

              12

              13

              14

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                                CERTIFICATE OF SERVICE
       I hereby certify that on November 1, 2019, a true and correct copy of Exhibit A to Capital

Funding’s Omnibus Supplemental Brief Regarding Dismissal of Zisha Lipschutz Filed October

31, 2019 was served by electronic filing on all counsel of record.




                                             /s/ Paige B. Tinkham
